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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                   CRIMINAL MINUTES - TRIAL

 Case No.          2:19-cr-00313-SVW                                                                             Date          August 9, 2021

 Present: The Honorable         STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 Interpreter        N/A

                                                                                                                     Reema M. El-Amamy
                 Paul M. Cruz                                Anne Kielwasser                                            David T. Ryan
                 Deputy Clerk                            Court Reporter/Recorder                                    Assistant U.S. Attorney



                 U.S.A. v. Defendant(s):                 Present Cust.        Bond              Attorneys for Defendants:             Present App. Ret.

Mark Steven Domingo                                         X         X                  David I. Wasserman, DFPD                          X         X
                                                                                         Lisa S. LaBarre, DFPD                             X         X



         Day COURT TRIAL                                    3rd    Day JURY TRIAL                                           Death Penalty Phase

         One day trial;         Begun (1st day);        X     Held & continued;                Completed by jury verdict/submitted to court.

         The Jury is impaneled and sworn.

         Opening statements made by

  X      Witnesses called, sworn and testified.

  X      Exhibits identified                                X      Exhibits admitted
  X      Government rests.                             Defendant(s)                                                                                        rest.

          Motion for mistrial by                                                is             granted                    denied                  submitted

  X                Motion for judgment of acquittal (FRCrP 29)                  is             granted                    denied      X           submitted

         Closing arguments made                    Court instructs jury                             Bailiff sworn

         Clerk reviewed admitted            exhibits with counsel to be submitted to the Jury/Court for deliberations/findings.

         Alternates excused                        Jury retires to deliberate                       Jury resumes deliberations

         Finding by Court as follows:                                                  Jury Verdict as follows:

 Dft #                 Guilty on count(s)                                              Not Guilty on count(s)

         Jury polled                                              Polling waived

         Filed Witness & Exhibit lists                   Filed Jury notes                 Filed Jury Instructions                   Filed Jury Verdict

         Dft #            Referred to Probation Office for Investigation & Report and continued to                                             for sentencing.

         Dft #            remanded to custody.              Remand/Release#                       issd.           Dft #            released from custody.

         Bond exonerated as to Dft #

         Case continued to         August 10, 2021 at 9:00 a m.           for further trial/further jury deliberation.
         Other:
                                                                                                                           7           :           00
                                                                                      Initials of Deputy Clerk                     PMC


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